USDC IN/ND case 2:16-cr-00055-JTM-APR               document 86        filed 10/17/16    page 1 of 2


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 UNITED STATES OF AMERICA,                            )
                 Plaintiff,                           )
                                                      )
                v.                                    )       CAUSE NO.: 2:16-CR-55-JTM-PRC
                                                      )
 MARK CHERRY,                                         )
                        Defendant.                    )

           FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
               UPON PLEA OF GUILTY BY DEFENDANT MARK CHERRY

 TO:    THE HONORABLE JAMES T. MOODY,
        UNITED STATES DISTRICT COURT

        Upon Defendant Mark Cherry’s request to enter a plea of guilty pursuant to Rule 11 of the

 Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge Paul R.

 Cherry, on October 17, 2016, with the consent of Defendant Mark Cherry, counsel for Defendant Mark

 Cherry, and counsel for the United States of America.

        The hearing on Defendant Mark Cherry’s plea of guilty was in full compliance with Rule 11,

 Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by Defendant Mark Cherry under oath

 on the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for Defendant Mark Cherry,

        I FIND as follows:

        (1) that Defendant Mark Cherry understands the nature of the charge against him to which the

 plea is offered;

        (2) that Defendant Mark Cherry understands his right to trial by jury, to persist in his plea of

 not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and
USDC IN/ND case 2:16-cr-00055-JTM-APR                 document 86     filed 10/17/16       page 2 of 2


 his right against compelled self-incrimination;

        (3) that Defendant Mark Cherry understands what the maximum possible sentence is, including

 the effect of the supervised release term, and Defendant Mark Cherry understands that the sentencing

 guidelines apply and that the Court may depart from those guidelines under some circumstances;

        (4) that the plea of guilty by Defendant Mark Cherry has been knowingly and voluntarily made

 and is not the result of force or threats or of promises;

        (5) that Defendant Mark Cherry is competent to plead guilty;

        (6) that Defendant Mark Cherry understands that his answers may later be used against him in

 a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Mark Cherry’s plea; and further,

        I RECOMMEND that the Court accept Mark Cherry’s plea of guilty to the offense charged in

 Count 2 of the Second Superseding Indictment and that Defendant Mark Cherry be adjudged guilty of

 the offense charged in Count 2 of the Second Superseding Indictment and have sentence imposed. A

 Presentence Report has been ordered. Should this Report and Recommendation be accepted and Mark

 Cherry be adjudged guilty, a sentencing date before Judge James T. Moody will be set by separate

 order. Objections to the Findings and Recommendation are waived unless filed and served within

 fourteen days. 28 U.S.C. § 636(b)(1).

        SO ORDERED this 17th day of October, 2016.

                                                        s/ Paul R. Cherry
                                                        MAGISTRATE JUDGE PAUL R. CHERRY
                                                        UNITED STATES DISTRICT COURT
 cc:    Honorable James T. Moody
